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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

TODD MCCAIN, individually and on behalf of all
others similarly situated,

Plaintiff,
v.

MARY MAHONEY’S, INC. d/b/a MARY
MAHONEY’S OLD FRENCH ~ HOUSE,
ANTHONY C, CVITANOVICH, QUALITY
POULTRY & SEAFOOD, INC., JAMES W.
GUNKEL, TODD A. ROSETTI, and DOE
DEFENDANTS 1-10,

Defendants.

Pursuant to Local Uniform Civil Rule 83.8, Plaintiff Todd McCain, individually and on

Case No.: 1:24-cv-241-LG-BWR

[PROPOSED] SECOND AMENDED
RICO CASE STATEMENT

behalf of the putative class, submits this statement in support of the RICO claims.

1. State whether the alleged unlawful conduct is in violation of 18 U.S.C. §§

1962(a), (b), (c), and/or (d).

The unlawful conduct is in violation of 18 U.S.C. § 1962(c) and (d).

2. List each Defendant and state the alleged misconduct and basis of liability of each

Defendant.

a. Defendants

QPS supplied the Foreign Fish to Mary Mahoney’s and Cvitanovich which were sold to

Plaintiff and the putative at prices customary for authentic snapper. See Second Am. Compl. {if
17, 33-34. QPS imported the Foreign Fish that it held for sale, after shipment in interstate

commerce, and facilitated the mislabeling. Jd. 4 39. QPS profited from the scheme by selling the

Foreign Fish to Mary Mahoney’s. Jd. { 27.

PLAINTIFF’S

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a

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Gunkel was QPS’s business manager and oversaw its operations, purchased the Foreign
Fish from QPS’s suppliers, and determined at what prices the Foreign Fish would be sold to Mary
Mahoney’s., /d. {4 18, 33-34. Gunkel profited from the scheme because he received bonuses based
on QPS’s profitability, which was directly tied to the scheme. /d. {[ 27.

Rosetti was QPS’s sales manager and oversaw its sales to Mary Mahoney’s, Id. J 19.
Rosetti was the “driving force” behind the scheme to mislabel the Foreign Fish. See Rosetti
Sentencing Tr. at 12:1, Exhibit E. Further, he suggesting the Foreign Fish as fraudulent substitutes
to Cvitanovich. See Second Am. Compl. § 19. Rosetti profited from the scheme because he
received bonuses based on QPS’s profitability, which was directedly tied to the scheme. Jd. { 27.

Cvitanovich was the co-owner and manager of Mary Mahoney’s. /d. J 21. He was solely
responsible for ordering the Foreign Fish that Mary Mahoney’s priced and sold as authentic
snapper to Plaintiff and the putative class. Jd. As the co-owner of Mary Mahoney’s, Cvitanovich
profited from the sale of the 55,500 fraudulent entrees. Jd. { 27.

Mary Mahoney’s sold the inexpensive Foreign Fish at prices customary for authentic snapper.

Id. ¥§ 5-7. Mary Mahoney’s generated significant profits from selling the 55,500 entrees at prices
customary for authentic snapper to Plaintiff and the putative class. Jd. 27.

b. The Scheme,

During the Class Period, Defendants targeted and financially defrauded Plaintiff and the
putative class by knowingly importing, mislabeling, and selling 55,550 entrees at prices customary
for authentic snapper at Mary Mahoney’s. Plaintiff and the putative class accordingly paid higher
prices for the inexpensive Foreign Fish they received. Jd. {J 1-9, 26-40. Of the 55,500 Snapper
Entrees that were ordered and sold during the Class Period, the overwhelming majority—if not

all—_were substituted with Foreign Fish, /d. J 7. The Foreign Fish were not as marketable

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pricewise; as they were inferior and accordingly much less expensive in comparison to authentic
snapper. Hence, the reason Defendants concealed the scheme. Plaintiff and the putative class
suffered financial losses equal to the difference between what Mary Mahoney’s paid QPS for the
Foreign Fish and the actual price Mary Mahoney’s would have paid for authentic snapper during
the Class Period. Jd. 7 9.

Defendants collectively and consensually entered into a conspiracy and continuous
“association-in-fact” enterprise, referred to as the “Foreign Fish Enterprise.” Jd. J 85. Defendants
conducted and participated in the affairs of the Foreign Fish Enterprise through a “pattern of
racketeering activity,’ committing numerous predicate acts to facilitate and execute the scheme
through the use of, or causing the use of, interstate wire communications and private/commercial
interstate carriers, in violation of 18 U.S.C. §§ 1343 and 1341. Jd. §§ 38-40, 87-90.

Defendants each played a distinct and indispensable role in the Foreign Fish Enterprise and
are liable for their own conduct and the Foreign Fish Enterprise’s collective conduct. The Foreign
Fish were purchased by Gunkel, imported by QPS, mislabeled by Rosetti, and sold by Mary
Mahoney’s and Cvitanovich to Plaintiff and the putative class at prices customary for authentic
snapper. /d. 4 33. Each Defendant knew full well the fish were neither local nor authentic snapper.

Based on Defendants’ continuous activities, relationships, and structure, each directly
profited and derived income they would not have otherwise received. /d. {27. The monetary losses
to Plaintiff and the putative class were the but-for cause and proximately caused by the scheme.

Each Defendants’ participation in the scheme is the basis for their liability under RICO, 18 U.S.C.

§ 1962(c) and (d).

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3. List the alleged wrongdoers, other than the Defendant(s) listed above, and state the
alleged misconduct of each wrongdoer.

Plaintiff has brought suit against all known wrongdoers. Plaintiff reserves the right to seek
leave of the Court to amend the Second Amended Complaint and Second Amended RICO Case
Statement to include other wrongdoers identified during discovery, pursuant to Fed. R. Civ. P. 15.
4, List the alleged victims and state how each victim was allegedly injured.

The victims of the scheme are Plaintiff, Todd McCain, and the putative class members.
The class is comprised of tens of thousands of individuals. As a direct and proximate result of the
scheme, Plaintiff and the putative class paid an accordingly and customarily higher price for
authentic snapper, when they instead received inexpensive and inferior Foreign Fish. Plaintiff and
the putative class suffered financial losses equal to the difference between what Mary Mahoney's
paid QPS for the Foreign Fish and the actual price Mary Mahoney’s would have paid for authentic
snapper during the Class Period. fd. 9.

5. Describe in detail the pattern of racketeering activity or collection of unlawful
debts alleged for each RICO claim. A description of the pattern of racketeering
must include the following information:

(A) List the alleged predicate acts and the specific statutes which were allegedly
violated;

The predicate acts under 18 U.S.C. § 1961(1) are listed in Paragraph 5(B), infra., and are
violations of 18 U.S.C. §§ 1343 and 1341.

(B) Provide the dates of each predicate act, the participants in each predicate act,
and a description of the facts constituting each predicate act;

With the intent to defraud, Mary Mahoney’s and QPS knowingly made use of numerous
interstate wire communications to organize and execute the scheme, in violation of 18 U.S.C. §

1343, Mary Mahoney’s and QPS have pleaded guilty to using interstate wire transmissions to

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facilitate the fraud in violation of 18 U.S.C. § 1343. See Mary Mahoney’s and QPS’s Plea

Agreements 7 1, Exhibits G & L.

With the intent to defraud, QPS, Gunkel, Rosetti, Mary Mahoney’s, and Cvitanovich

caused the Foreign Fish to be deposited, delivered, and/or received—via private and/or

commercial interstate carrier—in violation of 18 U.S.C. § 1341. See Cvitanovich Plea Tr. at 32:23—

25, 33:1-2, Exhibit B.

Defendants wide-ranging scheme or artifice to defraud used interstate wire

communications to knowingly and willfully organize, execute, and facilitate the racketeering

scheme, in violation of 18 U.S.C. § 1343, including:

a.

In an April 16, 2018 email, Gunkel (QPS’s business manager), sent the following
instructions to Rosetti (QPS’s sales manager), along with other members of QPS’s
sales staff: “I don’t understand why we are giving [African] Perch away. This is a
replacement for the triple tail which were selling at $8.99 and $9.99, Now we are
selling perch at $5.69 if we can’t get at least $6,99 or $7.99 then it’s not worth
bringing it in here. This is a product that no one else has and it is versatile. Raise
the price and make money where we can make money!”

On September 19, 2018, while an authorized federal search of QPS’s premises was
underway, Cvitanovich (Mary Mahoney’s co-owner/managet), sent an electronic
text message to Rosetti (QPS’s sales manager), ordering imported frozen African
perch, which Mary Mahoney’s regularly mislabeled and sold to customers as local
Mississippi Gulf Coast snapper.

On September 19, 2018, Rosetti (QPS’s sales manager) replied to Cvitanovich’s
text order for Aftican perch, with the following text: “Tomorrow[,] FDA here
today.” Cvitanovich (Mary Mahoney’s co-owner/manager) responded, “Ok.”

On September 27, 2018, eight days after the FDA’s search of QPS’s premises, in a
text to Rosetti (QPS’s sales manager), Cvitanovich ordered 150 pounds of African
perch in order to sell it to customers of Mary Mahoney’s as snapper.

On October 18, 2018, about a month after the FDA’s search of QPS’s premises, in
a text to Rosetti (QPS’s sales manager), Cvitanovich ordered 60 pounds of African
perch to sale as snapper to customers of Mary Mahoney’s.

In an October 18, 2018 text, after Rosetti (QPS’s sales manager) informed
Cvitanovich (Mary Mahoney’s co-owner/manager) that QPS was unlikely to obtain

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(C)

more African perch, by stating that “Perch about to be nonexistent,” Cvitanovich
instructed him to “Get all they have.”

In a February 21, 2019 text, Rosetti (QPS’s sales manager), told Cvitanovich that
“We have 110 cases of perch left when that is gone there is no more. FYI we are
looking for alternatives, Unicorn, triple tail and parrot fish are always good
alternatives.”

. In a responsive text on February 21, 2019, Cvitanovich (Mary Mahoney’s co-

owner/manager) told Rosetti (QPS’s sales manager) not to sell the remaining cases
of African perch to any other customers, stating that “I will buy them.” Rosetti
responded, “You come bring a check and I will set it aside for you.”

Throughout the Class Period, Mary Mahoney’s directly obtained thousands of
payments through interstate wire transmissions generated by credit card sales for
the fraudulently mislabeled Foreign Fish.

Throughout the Class Period, Mary Mahoney’s fraudulently marketed authentic
snapper on its menu and through several interstate wire and electronic
communications, which were hosted outside of Mississippi, including the website
Yelp®!

Throughout the Class Period, Mary Mahoney’s fraudulently marketed on the
websites OpenTable® and Tripadvisor®, which were hosted outside of Mississippi,
that it specialized in “locally sourced seafood.”

Throughout the Class Period, Mary Mahoney’s menu was posted on the publicly-
accessible website, www.marymahoney.com, which was hosted outside of
Mississippi, where Mary Mahoney’s marketed authentic snapper, which Mary
Mahoney’s and Cvitanovich substituted with inexpensive Foreign Fish,

If the RICO claim is based on the predicate offenses of wire fraud, mail
fraud, or fraud in the sale of securities, the “circumstances constituting fraud
or mistake shall be stated with particularity.” FED. R. CIV. P. 9(b). Identify
the time, place, and contents of the alleged misrepresentations, and the
identity of persons to whom and by whom the alleged misrepresentations
were made;

The scheme included predicate offenses of wire and mail fraud. See 5(B), supra.

1 Yelp®, https:/Avww.yelp.com/ (last visited July 5, 2024).

2 OpenTable®, https://www.opentable.com/t/mary-mahoneys-old-french-house-biloxi (“locally sourced
seafood”) (last visited July 5, 2024); Tripadvisor®, https://www.tripadvisor.com/Restaurant_Review-
243686-d2023580-Reviews-Mary_Mahoney_s_Old_French_House-Biloxi_Mississippi.html (same) (last

visited July 5, 2024).

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(D) State whether there has been a criminal conviction for violation of the
predicate acts;

There have been criminal convictions for violations of the predicate acts.
United States v. Mary Mahoney’s (Case No. 1:24-cr-45-HSO-RPM)

On April 26, 2024, the U.S, Attorney for the Southern District of Mississippi criminally
charged Mary Mahoney’s for its participation in the scheme. See Second Am. Compl., Exhibit F.
On May 30, 2024, Mary Mahoney’s, through unanimous consent of its board of directors, pleaded
guilty to felony charges for participating in the 18 U.S.C. § 371 conspiracy to defraud individuals
by marketing mislabeled seafood in violation of 21 U.S.C. §§ 331(k) and 333(a)(2), and in using
interstate wire transmissions to facilitate the fraud, in violation of 18 U.S.C, § 1343. Id, Exhibits
G&H.

United States vy, Anthony C. Cvitanovich (Case No. 1:24-cr-46-HSO-BWR)

On April 26, 2024, the U.S. Attorney for the Southern District of Mississippi criminally
charged Cvitanovich for his participation in the scheme. /d., Exhibit I. On May 30, 2024,
Cvitanovich pleaded guilty to felony charges related to the conspiracy for mislabeling inexpensive
imported seafood as local premium species to profit from its fraudulent sale in violation of 21
ULS.C. §§ 331(k) and 333(a)(2). /d., Exhibit J.

United States v. OPS (Case No. 1:24-cr-89-HSO-RPM)

On July 31, 2024, the U.S. Attorney for the Southern District of Mississippi criminally
charged QPS for its participation in the scheme. /d., Exhibit K. On August 27, 2024, QPS pleaded
guilty to felony charges for participating in the 18 U.S.C. § 371 conspiracy to defraud individuals
by marketing mislabeled seafood in violation of 21 U.S.C. §§ 331(k) and 333(a)(2), and in using
interstate wire transmissions to facilitate the fraud, in violation of 18 U.S.C. § 1343. Jd, Exhibit

L.

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United States v. James W. Gunkel (Case No. 1:24-cr-88-HSO-RPM)

On July 31, 2024, the U.S. Attorney for the Southern District of Mississippi criminally
charged Gunkel for his participation in the scheme. /a., Exhibit M. On August 27, 2024, Gunkel
pleaded guilty to charges related to the conspiracy for acts resulting in misbranding of inexpensive
imported seafood as local premium species in violation of 21 U.S.C. §§ 331(k) and 333(a)(1). fd,
Exhibit N.

United States v. Todd A. Rosetti (Case No, 1:24-er-90-HSO-BWR)

On July 31, 2024, the U.S, Attorney for the Southern District of Mississippi criminally
charged Rosetti for his participation in the scheme. /d., Exhibit O. On August 27, 2024, Rosetti
pleaded guilty to charges related to the conspiracy for acts resulting in misbranding of inexpensive
imported seafood as local premium species in violation of 21 U.S.C, §§ 331(k) and 333(a)(1). Id,
Exhibit P,

(E) State whether civil litigation has resulted in a judgment in regard to the
predicate acts;

There has been no civil litigation resulting in a judgment regarding the predicate acts.

(F) Describe how the predicate acts form a “pattern of racketeering activity”;
and,

The predicate acts form a “pattern of racketeering activity” in that they are related,
continuous, repetitious, and uninterrupted during the Class Period, all in furtherance of the scheme
to defraud, as defined by 18 U.S.C. § 1961(5). Plaintiff has identified numerous predicate acts in
furtherance of the scheme over a continuous “closed-ended” period of time. See { 5(B), supra.
These predicate acts were used to organize, facilitate, and execute the scheme. The facts, as stated
herein and in the Second Amended Complaint, demonstrate that the scheme had a similar purpose,
yielded similar results, had similar participants, and caused similar damages. See Second Am.

Compl. {J 1-9.

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(G) State whether the alleged predicate acts relate to each other as part of a
common plan. If so, describe in detail.

The predicate acts relate to each other as part of a common plan, as they all had the same
purpose and goal (to import, mislabel, and sell inexpensive Foreign Fish at prices customary for
authentic snapper); results (to unlawfully obtain money by means of fraud); participants (QPS,
Gunkel, Rosetti, Mary Mahoney’s, and Cvitanovich through the Enterprise); victims (Plaintiff and
the putative class); and methods of commission (the scheme and predicate acts as set forth in the
Second Amended Complaint).

The racketeering acts are also interrelated by their characteristics and are not isolated
events, since they were carried out for the same purpose, in a continuous and similar manner, and
throughout a substantial period of time. The racketeering activities establish a pattern of
racketeering activity within the meaning of 18 U.S.C. § 1961(5).

6. Describe in detail the alleged enterprise for each RICO claim. A description of each
enterprise must include the following information:

(A) State the names of the individuals, partnerships, corporations, associations,
or other legal entities which allegedly constitute the enterprise;

The following “persons” constitute a union or group of individuals associated-in-fact and
referred to in the Second Amended Complaint as the “Foreign Fish Enterprise”: (1) QPS, (2)
Gunkel, (3) Rosetti, (4) Mary Mahoney’s, and (5) Cvitanovich.

(B) Describe the structure, purpose, function, and course of conduct of the
enterprise;

The Foreign Fish Enterprise is an association-in-fact enterprise. During the Class Period,
the Defendant “persons” were systematically linked with overlapping leadership, structural and
financial ties, and continuing coordination with the intended purpose of financially defrauding

Plaintiff and the putative class. See Second Am. Compl. §§ 1-9, 26-37. The Foreign Fish

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Enterprise functioned as a continuing unit, pursued an interrelated course of conduct, and with a
common or shared purpose and continuity of structure and personnel to import, mislabel, and sell
inexpensive Foreign Fish at prices customary for authentic snapper. /d The Defendants, as
members of the Foreign Fish Enterprise, used the association-in-fact Enterprise as an instrument
to perpetrate the scheme, through a pattern of racketeering activity, as fully described in the Second
Amended Complaint. The purpose of the Foreign Fish Enterprise was to sell inexpensive Foreign
Fish at prices customarily charged for authentic snapper to derive racketeering income from
Plaintiff and the putative class. Jd.

(C) State whether any Defendants are employees, officers, or directors of the
alleged enterprise;

Defendants are not employees, officers, or directors of the Foreign Fish Enterprise.
Cvitanovich is a co-owner and manager of Mary Mahoney’s, one of the entities in the Foreign Fish
Enterprise. Gunkel and Rosetti are employees of QPS, one of the entities in the Foreign Fish
Enterprise.

(D) State whether any Defendants are associated with the alleged enterprise;

Each Defendant was associated with the Foreign Fish Enterprise during the Class Period
and for the common purpose of participating and profiting from the scheme and artifices to defraud

Plaintiff and the putative class.

(E) State whether the Plaintiff is alleging that the Defendants are individuals or
entities separate from the alleged enterprise, or that the Defendants are the
enterprise itself, or are members of the enterprise;

Gunkel, Rosetti, and Cvitanovich are individuals, and QPS and Mary Mahoney’s are

entities, that are separate from the Foreign Fish Enterprise and not the Enterprise itself. QPS,

Gunkel, Rosetti, Mary Mahoney’s, and Cvitanovich are each members of the Enterprise,

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(F)  Ifany Defendants are alleged to be either the enterprise itself or members of
the enterprise, explain whether such Defendants are perpetrators, passive
instruments, or victims of the alleged racketeering activity.

Defendants are perpetrators of the racketeering scheme. Each Defendant actively
participated in the Foreign Fish Enterprise and used it as a means of financially defrauding Plaintiff
and the putative class. None of the Defendants were passive instruments of the racketeering
scheme. None of the Defendants were victims of the racketeering scheme. Each Defendant knew
of the unlawful conduct, participated in the unlawful conduct, and benefited from the unlawful
conduct.

7. State whether the Plaintiff is alleging that the pattern of racketeering activity and
the enterprise are separate or have merged into one entity. In either event, describe
in detail.

The pattern of racketeering activity and the Foreign Fish Enterprise are separate and apart.
The racketeering activity was committed in furtherance of the Foreign Fish Enterprise. The parties
which made up the Foreign Enterprise maintained distinct purposes, as QPS and Mary Mahoney’s
conducted business operations outside of importing, mislabeling, and selling the Foreign Fish at
prices customary for authentic snapper.

8. Describe the alleged relationship between the activities of the enterprise and the
pattern of racketeering activity. Discuss how the racketeering activity differs from
the usual and daily activities of the enterprise, if at all.

The usual and daily activities of the Foreign Fish Enterprise consisted of importing,
mislabeling, and selling the Foreign Fish to Plaintiff and the putative class at prices customary for

authentic snapper, The racketeering activity did not differ from the usual and daily activities of the

Enterprise.

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9, Describe what benefits, if any, the alleged enterprise receives from the alleged
pattern of racketeering.

The Foreign Fish Enterprise enjoyed significant financial benefits from the pattern of
racketeering activity, The Enterprise benefited by unlawfully receiving millions of dollars from
Plaintiff and the putative class that they would not have otherwise received, but for importing,
mislabeling, and selling the inexpensive Foreign Fish at prices customary for authentic snapper.

10. Describe the effect of the activities of the enterprise on interstate or foreign
commerce.

The Foreign Fish Enterprise’s activities effected interstate and foreign commerce through
the predicate acts as detailed in the Second Amended Complaint. These acts included importing,
through interstate and foreign commerce, Foreign Fish from Aftica, Suriname, and India. See
Second Am. Compl. 39. The Enterprise also affected interstate and foreign commerce through
utilization of the mails and wires to facilitate, execute, and coordinate the scheme.

11. If the complaint alleges a violation of 18 U.S.C. § 1962(a), provide the following
information:

(A) State who received the income derived from the pattern of racketeering
activity or through the collection of an unlawful debt; and,

The Second Amended Complaint does not allege a violation of 18 U.S.C, § 1962(a).
(B) Describe the use, investment, or locus of such income.
The Second Amended Complaint does not allege a violation of 18 U.S.C. § 1962(a).

12. If the Complaint alleges a violation of 18 U.S.C, § 1962(b), describe in detail the
acquisition or maintenance of any interest in or control of the alleged enterprise.

The Second Amended Complaint does not allege a violation of 18 U.S.C. § 1962(b).

13. If the Complaint alleges a violation of 18 U.S.C. § 1962(c), provide the following
information:

(A) State who is employed by or associated with the enterprise; and,

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QPS, Gunkel, Rosetti, Mary Mahoney’s, and Cvitanovich are “associated” with the Foreign
Fish Enterprise.

(B) State whether the same entity is both the liable “person” and the
“enterprise” under § 1962(c).

The Defendants are not both the liable “person” and the “enterprise” under 18 U.S.C. §
1962(c), as stated in Paragraph 6(C), supra. The persons are separate and apart from the Enterprise
under section 1962(c), which is an association-in-fact comprised of QPS, Gunkel, Rosetti, Mary
Mahoney’s, and Cvitanovich.

14, ‘If the Complaint alleges a violation of 18 U.S.C. § 1962(d), describe in detail the
alleged conspiracy.

The Defendants violated Section 1962(d), inasmuch as, in furtherance of their scheme to
defraud and in order to execute their objective, they knowingly and intentionally aided and abetted
each other, conspired to conduct and participate in, and did conduct and directly participate in the
affairs of the Enterprise, through a pattern of racketeering activity, in violation to Section 1962(c).
See Second Am. Compl. €¥ 108-115.

The nature of the above-described acts by Defendants, demonstrate that the members of
the Enterprise not only agreed to the objectives of an 18 U.S.C. § 1962(d) violation of RICO by
conspiring to violate 18 U.S.C. § 1962(c), but that they were aware that their acts were part of an
overall pattern of racketeering activity. /d.

15. Describe the direct causal relationship between the alleged injury and the violation
of the RICO statute.

But for the existence of, and wrongful acts of, the Foreign Fish Enterprise, Plaintiff and the
putative would not have overpaid for inexpensive and inferior Foreign Fish. The Defendants’

racketeering activities directly, actually, and proximately caused Plaintiff and the putative classes’

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damages, as they paid customarily and accordingly higher prices from authentic snapper and were
the direct and foreseeable victims of the scheme.
16. —_ List the actual damages for which Defendant is allegedly liable.

Plaintiff and the putative class sustained actual financial losses (i.e, money damages), in
an amount to be determined at trial, equal to the difference between what Mary Mahoney’s paid
OPS for the Foreign Fish and the actual price Mary Mahoney’s would have paid for authentic
snapper during the Class Period.

17. _ List all other federal causes of action, if any, and provide citations to the relevant
statute(s).

No other federal causes of action are alleged in the Second Amended Complaint.
18. List all pendent state claims, if any.
None.

19. Provide any additional information that you feel would be helpful to the Court in
considering your RICO claim.

Plaintiff is not aware of any additional information which may be helpful to the Court.
Plaintiff respectfully requests that the Court grant leave to amend his Second Amended RICO Case
Statement should the Court require additional briefing on the facts or application of RICO.
Dated: , 2025, Respectfully submitted,

/s/ W_ Bobby Gill, Ii

W., Bobby Gill, HI, MSB No. 9857
James M, Priest, Jr., MSB No. 99352
GILL, LADNER & PRIEST, PLLC
344 Highway 51, Second Floor
Ridgeland, MS 39157

Telephone: (601) 352-5700
bobby@eglplawfirm.com

jamie@giplawfirm.com

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Gerald M. Abdaila, Jr., MSB No. 101213
ABDALLA LAW, PLLC

602 Steed Road, Suite 200

Ridgeland, MS 39157

Telephone: (601) 278-6055

jerry @abdalla-law.com

Joey D. Dumas, (pro hac vice)
DUMAS LAW FIRM, LLC
P.O. Box 3046

Mobile, AL 36652
Telephone: (251) 222-6669
joey(@joeydumasiaw.com

Counsel for Plaintiff and the putative class

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